23 F.3d 404NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    UNITED STATES of America, Plaintiff Appellee,v.Wayne THOMAS, a/k/a Eugene Gregory, Defendant Appellant.
    No. 94-6219.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  April 21, 1994.Decided:  May 20, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frederic N. Smalkin, District Judge.  (CR-91-212)
      Wayne Thomas, Appellant Pro Se.
      Stephen Scott Zimmerman, Office of the United States Attorney, Baltimore, Maryland, for Appellee.
      D.Md.
      AFFIRMED.
      Before ERVIN, Chief Judge, MICHAEL, Circuit Judge, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his request for a transcript of the grand jury hearing, at the government's expense.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  United States v. Thomas, No. CR-91-212 (D. Md. Feb. 15, 1994).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    